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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


JAMES ETIENNE,

                        Plaintiff,

       v.                                            Case No:

CITY OF CHICAGO and                                   Judge:
CHICAGO POLICE OFFICER R.
RODRIQUEZ (#12157), CHICAGO POLICE
OFFICER LUKASZ MURZANSKI (#9407)

                         Defendants.
                                                  JURY TRIAL DEMANDED



                                            COMPLAINT

       Plaintiff JAMES ETIENNE, by and through his undersigned counsel at First Defense Legal

Aid, brings this Complaint against Defendants CITY OF CHICAGO, CHICAGO POLICE

OFFICER R. RODRIQUEZ (#12157), and CHICAGO POLICE OFFICER LUKASZ

MURZANSKI (#9407), and in support thereof states as follows:

                                       INTRODUCTION

   1. This action is brought pursuant to 42 U.S.C. §1983 to address deprivations of Plaintiff’s

       rights under the Constitution of the United States.

   2. On February 21, 2020, Plaintiff James Etienne, was arrested by Chicago Police Officer R.

       Rodriquez (#12157) and Chicago Police Officer Lukasz Murzanski (#9407) following a

       traffic stop.

   3. Defendant Officers arrested Mr. Etienne without probable cause and caused Mr. Etienne’s

       vehicle to be unreasonably seized.
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4. Mr. Etienne was taken to the station and held for approximately three hours and released,

   however, he remained without his vehicle for three days.

5. Defendant Officers’ actions violated of Mr. Etienne’s constitutional rights and dignity, and

   he now seeks justice.

                              JURISDICTION AND VENUE

6. The jurisdiction of the court is invoked pursuant to the Civil Rights Act, 42 U.S.C. §1983;

   the Judicial Code, 28 U.S.C. §1331 and §1343(a); and the Constitution of the United States.

   Further, this Court has supplemental jurisdiction under 28 U.S.C. §1367(a) over claims

   arising under Illinois state law.

7. Venue is appropriate under §28 U.S.C. §1391(b), as all defendants reside in this judicial

   district. In addition, a substantial part of the events giving rise to this claim occurred in this

   judicial district.

                                          PARTIES

8. Plaintiff JAMES ETIENNE (“Plaintiff” or “Mr. Etienne”) is a United States Citizen who at

   all times mentioned herein resided in the Northern District of Illinois.

9. Defendant CITY OF CHICAGO is, and at all times mentioned herein was, a municipality

   organized and operating under the statutes of the State of Illinois. It is authorized under the

   statutes of the State of Illinois to maintain the Chicago Police Department, which acts as the

   City’s agent in the areas of municipal law enforcement and for which the City is ultimately

   responsible. Defendant City was at all times material to this Complaint the employer and

   principal of the Officer Defendants.




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10. DEFENDANT OFFICER R. RODRIQUEZ (#12157) was at all times relevant to this

   Complaint a duly appointed and sworn law enforcement officer of the CITY OF

   CHICAGO, which was and is his principal and employer.

11. DEFENDANT OFFICER LUKASZ MURZANSKI (#9407) was at all times relevant to this

   Complaint a duly appointed and sworn law enforcement officer of the CITY OF

   CHICAGO, which was and is his principal and employer.

12. At all times relevant herein, DEFENDANT OFFICERS were acting in the scope of their

   employment and under color of state law.

13. DEFENDANT OFFICERS are sued in their individual capacities.

                                           FACTS

14. On February 21, 2020, Plaintiff James Etienne was pulled over by Defendant Officers.

15. Defendant Rodriquez had, at that point, stopped Mr. Etienne, who is Black, multiple times

   prior to February 21, 2020, on one occasion relaying a baseless and inflammatory concern

   about “drug dealing” in the neighborhood.

16. Defendant Rodriquez was aware Mr. Etienne was a delivery driver by virtue of these prior

   interactions.

17. Defendant Rodriquez was aware that Plaintiff was a licensed driver by virtue of these prior

   interactions.

18. On one of these earlier stops, Officer Rodriquez reviewed documentation from the Illinois

   Secretary of State indicating that Mr. Etienne’s license was not suspended, and did not at

   that time arrest him or tow his vehicle.

19. During the February 21, 2020 stop, Defendant Officer Murzanski asked for Plaintiff’s

   license, registration, and insurance.



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20. Prior to Officer Murzanski’s running Mr. Etienne’s license, Officer Rodriquez stated that he

   would “need a TVB transport,” on information and belief, a Traffic Violation Bond, evincing

   his decision that he would charge and arrest Mr. Etienne without any verification of any

   relevant facts regarding the status of his license, registration, or insurance.

21. Mr. Etienne provided Defendant Murzanski with his license and registration, and was

   retrieving his insurance when Defendant Officers approached Mr. Etienne, took him from

   the vehicle, handcuffed him, and told him he was driving on a suspended license.

22. Mr. Etienne informed Defendant Officers that he had completed all necessary steps related

   to prior payment of red light tickets such that his license was clear and in good standing. He

   offered to show officers documentation from the Secretary of State to this effect, but they

   refused, and told him that his license was suspended in their system.

23. Defendant Officers agreed among themselves to arrest Mr. Etienne and tow his car

   regardless of the actual status of his license, as evidenced by their cooperation and

   coordination in his arrest and joint failure to review the clarifying Secretary of State

   documentation.

24. Mr. Etienne was taken to a police station, where he sat for nearly three hours until Defendant

   Rodriquez decided to examine his documentation.

25. Once Defendant Rodriquez realized that Mr. Etienne’s license and other documentation

   was valid, instead of correcting his unreasonable earlier action, he simply told Mr. Etienne

   that he would “not show up to court.”

26. Defendant Rodriquez told Mr. Etienne that he “had to arrest him,” because otherwise his

   supervisor would question why the encounter took so long.




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27. Multiple officers apologized to Mr. Etienne at the police station, but Defendant Rodriquez

    was unrepentant.

28. Mr. Etienne was forced to pay a $125.00 bond prior to his release from the police station

    and was unable to retrieve his vehicle until February 25, 2020, approximately three days after

    the incident.

29. The ticket for Driving on a Suspended License was dismissed on February 25, 2020 with a

    finding of “No Probable Cause.”

30. Months earlier, Mr. Etienne had been stopped by a Highland Park police officer, who

    reviewed the Secretary of State documentation, as Defendant Officers refused to do on

    February 21, 2020, and concluded that his license was not in fact suspended.

31. This prior stop evinces that a reasonable officer knew or should have known that arrest for

    a non-operative license suspension was unreasonable.

32. Defendant Officers knew or should have known that there was no probable cause to arrest

    Plaintiff and seize his vehicle, but they did so anyway, in violation of Mr. Etienne’s civil rights.

33. Mr. Etienne was forced to miss work as a result of the Defendant’s actions, losing wages, and

    similarly had to pay to retrieve the vehicle from the tow yard.

34. As a direct and proximate cause of the acts and omissions of Defendant Officers, Mr. Etienne

    suffered damages including but not limited to loss of liberty, emotional distress, lost wages,

    humiliation, and loss of property.

                       COUNT I: 42 U.S.C. §1983 - FALSE ARREST
                              Against Defendant Officers
                                    (Federal Claim)

35. Plaintiff realleges paragraphs 1-34 as though fully set forth herein.




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   36. The actions of the Defendant Officers described above, whereby they arrested Plaintiff

       without probable cause, violated his Fourth Amendment right to be free from unlawful

       seizure.

   37. Defendant Officers did not have reasonable suspicion or probable cause to believe that

       Plaintiff had committed the offense of driving on a suspended license.

   38. In fact, Defendant Officer Rodriquez, fully aware that Mr. Etienne was innocent of the

       offense of driving on a suspended license, told him that he "had to” baselessly arrest and

       charge him to avoid scrutiny from his supervisor.

   39. The actions of the Defendant Officers were objectively unreasonable and were undertaken

       intentionally with malice, willfulness, and reckless indifference to Mr. Etienne’s rights.

   40. As a result of this false arrest, Mr. Etienne’s suffered injury, including but not limited to loss

       of liberty, emotional distress, humiliation, lost wages, and loss of property.

       WHEREFORE, Plaintiff JAMES ETIENNE demands judgment against DEFENDANT

OFFICERS for compensatory and punitive damages, the costs of this action, and reasonable

attorneys’ fees, and for any other relief this Honorable Court deems equitable and just.

           COUNT II: 42 U.S.C. §1983 - WRONGFUL SEIZURE OF PROPERTY
                                Against Defendant Officers
                                     (Federal Claim)

   41. Plaintiff realleges paragraphs 1-34 as though fully set forth herein.

   42. The actions of Defendant Officers described above, whereby they seized Mr. Etienne’s

       vehicle without probable cause, violated his Fourth Amendment right to be free from

       unreasonable searches and seizures.




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   43. Defendant Officers did not have reasonable suspicion or probable cause to believe that

       Mr. Etienne had committed, was committing, or was about to commit any offense for which

       impoundment of a vehicle was lawful.

   44. Defendants’ refusal to examine paperwork illustrating that Mr. Etienne’s license was not

       suspended was objectively unreasonable and a failure to investigate as required by law.

   45. The actions of the Defendant Officers were objectively unreasonable and were undertaken

       intentionally with malice, willfulness, and reckless indifference to Mr. Etienne’s rights.

   46. As a result of this illegal seizure, Mr. Etienne suffered numerous injuries, including but not

       limited to financial loss, emotional distress, humiliation, anguish, and loss of property.

       WHEREFORE, Plaintiff JAMES ETIENNE, demands judgment against DEFENDANT

OFFICERS for compensatory and punitive damages, the costs of this action, and reasonable

attorneys’ fees, and for any other relief this Honorable Court deems equitable and just.

                COUNT III: 42 U.S.C. 1983 and 1985 – CIVIL CONSPIRACY
                               Against Defendant Officers
                                     (Federal Claim)

   47. Plaintiff realleges paragraphs 1-34 as though fully set forth herein.

   48. Defendant Officers expressly or impliedly formed an agreement to unlawfully arrest Mr.

       Etienne and seize his vehicle, in violation of his constitutional rights, on February 21, 2020.

   49. In furtherance of this conspiracy, Defendants took the overt acts of preparing paperwork,

       transporting Mr. Etienne to the police station in handcuffs, refusing to examine his driving

       documentation from the Secretary of State, and impounding his vehicle.

   50. Defendants’ expressly or impliedly agreed-upon arrest and impoundment constitute a

       violation of Mr. Etienne’s Fourth Amendment rights.




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   51. The misconduct described in this Count was objectively unreasonable and was undertaken

       willfully and wantonly with reckless disregard for the rights and safety of Mr. Etienne.

   52. As a result of this conspiracy to deprive Mr. Etienne of his constitutional rights, Mr. Etienne

       suffered numerous injuries, including but not limited to financial loss, emotional distress,

       humiliation, anguish, and loss of property.

       WHEREFORE, Plaintiff JAMES ETIENNE, demands judgment against DEFENDANT

OFFICERS for compensatory and punitive damages, the costs of this action, and reasonable

attorneys’ fees, and for any other relief this Honorable Court deems equitable and just.

                    COUNT IV: 745 ILCS 10/9-102 - INDEMNIFICATION
                            Against Defendant City of Chicago
                                    (State Law Claim)

   53. Plaintiff realleges paragraphs 1-34 as though fully set forth herein.

   54. Defendant City of Chicago is the employer of Defendant Officers.

   55. Defendant Officers committed the acts described above while acting under color of state law,

       while on duty, and within the scope of their employment at the City of Chicago.

   56. In Illinois, public entities are directed to pay for any tort judgment for compensatory damages

       for which employees are liable within the scope of their employment activities. 745 ILCS

       10/9-102.

   57. As a proximate cause of the Defendant Officers’ unlawful acts, which occurred within the

       scope of their employment activities, Mr. Etienne suffered injuries.

       WHEREFORE, Plaintiff JAMES ETIENNE demands judgement against Defendant CITY

OF CHICAGO, pursuant to 745 ILCS 10/9-102, for compensatory damages, reasonable attorney’s

fees, costs, and for any other such relief this Honorable Court deems equitable and just.




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                                              JURY DEMAND

       Plaintiff demands trial by jury on all issues so triable.

                                        Respectfully submitted,
                                                                    /s/ Daniel E. Massoglia

                                                                   One of Plaintiff’s Attorneys


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